 

United States District Court

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For the Eastern District of Wisconsin ck sie ogres !

 

 

Jamie Bowens, my AUG TU iP 28
Plaintiff, PHEN C. DRIES
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V. Case No.
Belinda Schrubbe, Nurse C. Messerole, 1 7 -C =-j 1 2 h

Ann Larson, RN, Jeffrey Manlove, MD, et. al.,

Defendants.

 

Complaint Under the Civil Rights Act of 42 U.S.C. 1983

 

Complaint with Jury Demand

This is a civil rights action filed by Jamie Bowens (Bowens), a state prisoner, under Title
42 of the United States Code 1983, alleging the denial of medical care in violation of the gi
Amendment to the United States Constitution, and constitution of the state of Wisconsin, brought
to redress the violation of the plaintiff's right guaranteed to him by the Constitution of the United
States.

The actions of each defendant, who are employees of the Wisconsin Department of
Corrections (WDOC), displayed deliberate indifference to the plaintiffs constitutionally
protected right in violation of the 8" Amendment and Wisconsin’s negligence law, primarily by
delaying or denying adequate medical care to Bowens’ torn Achilles tendon.

Jurisdiction
1) Jurisdiction over subject matter of this action is conferred by 28 U.S.C. 1331(1), federal

question jurisdiction, 1243(a)(3) (42 U.S.C. 1983 jurisdiction), and 28 U.S.C.

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1367(a),giving this court supplemental jurisdiction over plaintiff's negligence state law
tort claim.
Venue is properly laid in the Eastern District of Wisconsin because the wrongful acts
complained of herein took place in Dodge County, within the Eastern District of
Wisconsin, within the meaning of 28 U.S.C. 1391(b).

Parties
The plaintiff, Bowens, was incarcerated at Waupun Correctional Institution (WCD,
during the events described in the complaint.
The defendant, Belinda Schrubbe, is employed as the HSU manager at WCI. Schrubbe is
responsible for supervising all medical and health care staff within HSU, and was made
aware of Bowens’ torn Achilles injury.
The defendant, Nurse C. Messerole, RN, is an adult female citizen of the United States,
currently a resident of Wisconsin, and at all times material hereto was employed as a
nurse at WCI. Nurse Messerole is responsible for medical and health care within the
institution, and was made aware of Bowens’ torn Achilles injury.
The defendant, Ann Larson, RN, is an adult female citizen of the United States, currently
a resident of Wisconsin, and at all times material hereto was employed as a nurse at WCI.
Nurse Larson is responsible for medical and health care within the institution, and was
made aware of Bowens’ torn Achilles injury.
The defendant, De Young, is an adult female citizen of the United States, currently a
resident of Wisconsin, and at all times material hereto was employed as a nurse at WCI.
De Young is responsible for medical and health care within the institution, and was made

aware of Bowens’ torn Achilles injury.

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The defendant, Dr. Jeffrey Manlove, MD, is employed as the physician/doctor within
HSU at WCI. Dr. Manlove is responsible for the overall health care and medical
treatment of inmates housed at WCI. Dr. Manlove was made aware of Bowens’ torn
Achilles injury.

Statement of Facts in Support of Medical Claim
Bowens’ principal claims against the defendants are that they acted with deliberate
indifference to Bowens’ torn Achilles injury when they failed to immobilize his ruptured
Achilles injury for four (4) weeks, delayed Bowens’ appointment with a specialist, and
delayed/denied him surgery to repair the injury before it was too late to repair.
Bowens suffered a debilitating rupture to his Achilles tendon which caused him extreme
pain, impeded his mobility over the course of the four (4) weeks it went untreated, and
subsequently left him with a lifelong injury.
Bowens missed a step while walking up the stairs during the week of September 19, 2013
thru September 26, 2013. In missing the stair, Bowens landed hard on his heel sustaining
an injury to his right leg. Bowens heard an audible “pop” and felt excruciating pain and
weakness in his right Achilles.
When he was seen by Nurse De Young, Bowens informed her that he heard a loud “pop”
and felt excruciating pain and weakness in his right foot.
De Young’s preliminary diagnosis was a right Achilles injury with swelling. De Young’s
gave Bowens an Ace bandage, ice, crutches, and placed him on a no-work restriction to
deal with his excruciating pain.
However, De Young failed to follow the specific standard protocol for patients with a

ruptured Achilles tendon which includes: a) immobilizing Bowens’ injured foot by

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providing a cast, splint, boot, or any device that would place the injury in a non-weight
bearing status; and b) order that his meals be sent to the unit so that Bowens would not
have to use crutches to walk to and from the chow hall to eat.

On September 30, 2013, Bowens was seen by Nurse Messerole who diagnosed him with
a torn/ruptured Achilles tendon.

Nurse Messerole acknowledged that Bowens had 0 RT Reflex Achilles swelling from
ankle to mid-calf, that he was using crutches, and was in pain.

Nurse Messerole placed Bowens on work restriction, ordered meals on the unit, ice, and
crutches. Messerole also ordered a Class II MRI, MD consult, and a MD post operation.
However, Messerole failed to follow specific standard protocol for patients with a
ruptured Achilles injury. Messerole failed to provide Bowens with a cast, splint, boot, or
any other device for non-weight bearing status or immobilize the injury.

Bowens had an MRI on October 2, 2013. Although the results were completed on that
date, neither Dr. Manlove nor Nurses Larson, De Young or Messerole reviewed the
results until October 13, 2013.

Bowens contacted HSU about the results of the MRI between October 10 and 12.

On or around October 13, 2013, Bowens was called regarding his request about the MRI.
Bowens was still using crutches to get around although he was in excruciating pain.
Bowens informed the nurse that he was suffering pain from an Achilles injury, that he
had a MRI performed on October 2, 2013, was awaiting the results of the MRI.

The nurses informed Bowens that it usually takes 3-5 days for MRI results to come back

and HSU may not have received his results yet.

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Bowens informed the nurses that it had been 11 days since he had the MRI, and the
nurses went to check the file and found that the results were on file.

The nurses then rushed to show Dr. Manlove the MRI results. After reviewing the MRI,
Dr. Manlove informed Bowens that he was scheduling an immediate orthopedic
assessment, and that more likely than not, Bowens was going to need surgery to repair
the ruptured Achilles tendon. Because the MRI was not reviewed by the nurses and Dr.
Manlove in a timely manner, Bowens’ appointment with the specialist to repair the
tendon was delayed.

Bowens was initially diagnosed with a torn Achilles on September 30, 2013; however,
Dr. Manlove failed to comply with specific treatment protocol for a patient with a
ruptured Achilles tendon.

In the time from the initial diagnoses on September 30, 2013, and when Bowens was seen
by the orthopedic specialist on October 22, 2013, Dr. Manlove failed to provide Bowens
with a cast, splint, boot, or any other device that would immobilize his foot injury.
Moreover, after reviewing the MRI on October 13, 2013, and knowing the extent of
Bowens’ injury, Dr. Manlove failed to provide Bowens with a cast, splint, boot, or any
other device that would immobilize his Achilles injury until he could be seen by the
orthopedic specialist on October 22, 2013.

On October 22, 2013, after reviewing the MRI results, the orthopedic specialist informed
Bowens that he needed immediate surgery to repair the ruptured Achilles tendon.

During the consultation the orthopedic specialist asked Bowens how he sustained his

injury and how long it had been since he had injured himself.

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Bowens informed the orthopedic specialist that it had been about 4-5 weeks, to which she
replied that it was too late to do surgery.

The orthopedic specialist informed Bowens that when a ruptured Achilles is not repaired
immediately after the injury, it begins to callous over the heel, and at that point it is too
late to correct it through surgery.

The orthopedic specialist further informed Bowens that it is standard practice and
protocol to perform surgery on a patient with his type of injury within 2 weeks of
sustaining the injury, that his surgery should have been scheduled immediately following
the MRI results, and that his surgery should have happened no later than October 10,
2013.

The orthopedic specialist also informed Bowens that because Dr. Manlove and the HSU
staff failed to properly treat his injury by immobilizing it with a cast, splint, boot, or any
other device, waited too long to review the MRI results, and delayed in scheduling him to
be seen by an orthopedic specialist, too much time had elapsed to perform surgery.

The orthopedic specialist went on to inform Bowens that there was nothing that could be
done to rectify or correct the injury because Dr. Manlove and the WCI nursing staff did
not properly treat his ruptured Achilles tendon.

The orthopedic specialist also informed Bowens that he would suffer lifelong
complications from his injury which would include a loss of muscle mass, a loss in range
of motion, a permanent limp in his gait, as well as stiffness and pain in his foot.

The orthopedic specialist informed Bowens that the only non-surgical option would have
been a boot, but that option was off the table because too much time had elapsed for that

to be effective in treating his injury.

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38) | Bowens is suffering from a permanent limp in his gait and is forced to wear an AFO
brace for the rest of his life.
39) Bowens’ limp causes a lack of balance, as well as constant lower back pain due to WCI
staff's failure to properly treat his ruptured Achilles injury.
Legal Theory or Appropriate Authority

An Achilles tendon rupture is a tear in the tendon which impedes the ability of the foot to
point downward causing pain and limiting mobility. Walking around on a ruptured tendon
exacerbates the injury, increasing the gap between the torn edges of a tendon because of the way
that muscles contract in the foot and calf.

Immobilizing the injured foot prevents stretching of the tear and allows the torn edges of
the tendon to sit together and scar tissue begins to form, rejoining the edges. When an Achilles
rupture is not immobilized; the torn tendon edges stretch apart when the foot strikes the ground
causing severe pain and weakness.

The nurses that initially saw Bowens regarding his ruptured Achilles tendon failed to
provide him the proper treatment when first notified of the injury. The proper course of
treatment was to immobilize the foot with a cast, splint, boot, or any other device that would
insure that his foot was in non-weight bearing status.

Although Bowens was given crutches, they did not serve the same purpose that a boot
would have served. Bowens was ultimately given a boot about 4-5 weeks after his injury but the
delay had a detrimental effect on his condition, causing him to suffer excruciating pain which
indicates that gapping at the rupture site had occurred due to the lack of immobilization.

Bowens’ 8 Amendment claims involve being denied or delayed medical treatment.

Prison officials violate the 8"" Amendment’s proscription against cruel and unusual punishment if

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they display deliberate indifference to an inmate’s serious medical needs. Deliberate
indifference to serious medical needs of a prison constitutes the unnecessary and wanton
infliction of pain. See, Greeno v. Daley, 414 F. 3d 645, 652-53 (7 Cir. 2005), quoting Estelle v.
Gamble, 429 U.S. 97 (1976).

To prevail on such an 8" Amendment claim, a prisoner must show: 1) that he had an
objectively serious medical need; and 2) that the official knew that the medical need was serious
but disregarded it. An objectively serious injury or medical need is one that has been diagnosed
by a physician as mandating treatment, or one that is so obvious that even lay person would
easily recognize the necessity for a doctor’s attention. See, Johnson v. Snyder, 444 F. 3d 579,
584-85 (7" Cir. 2006).

An objectively serious medical condition need not be life threatening... Rather it could
be a condition that would result in further significant injury or unnecessary and wanton infliction
of pain if not treated. See, Gayton v. McCoy, 593 F. 3d 610, 620 (7" Cir. 2010).

Courts that have considered a condition similar to that sustained by the plaintiff have
usually found that it satisfies the objectively serious prong. See, Turner v. Kirsch, No. 08-2005,
2011 U.S. Dist. Lexis 40517, 2011 WL 1430300 (E.D. PA 2011) (a torn Achilles tendon
requiring treatment and ... surgeries considered a serious medical condition); see also,
Hemmings v. Gorczyk, 134 F. 3d 104, 109 (and Cir. 1998); Allen v. Feinerman, 2009 U.S. Dist.
Lexis 63760, 2009 WL 90118 (holding that allegations of a ruptured Achilles tendon were
sufficient to state a serious medical need); Petties v. Carter, 836 F. 3d 722 (7" Cir. 2016)
(holding an Achilles tendon rupture is an objectively serious condition); and, Hampton v. Hart,
2011 U.S. Dist. Lexis 77424 (holding defendants did not argue that plaintiff's ruptured Achilles

was not an objectively serious medical condition).

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To determine if a prison official acted with deliberate indifference, we look into his or her
subjective state of mind. The Supreme Court has instructed us that a plaintiff must provide
evidence that an official actually knew of and disregarded a substantial risk of harm. See, Petties
v. Carter, 836 F. 3d 722, 728.

The inquiry starts by examining existing precedent. We look at the totality of an inmate’s
medical care when considering whether that care evidences deliberate indifference to serious
medical needs. Id. at 729.

In the medical context, obviousness of a risk can be obscured by the need for specialized
expertise to understand the various implications of a particular course of treatment. Courts have
found that where unnecessary risk may be imperceptible to a lay person, that a medical
professional’s treatment decision must be such a substantial departure from accepted
professional judgment, practice, or stands as to demonstrate that the person responsible did not
base the decision on judgment.

A plaintiff can show that the professional disregarded the need only if the professional’s
subjective response was so inadequate that it demonstrated an absence of professional judgment,
that is, no minimally competent professional would have so responded under those
circumstances. Another is when he or she fails to follow an existing protocol. While published
requirements for health care do not create constitutional rights, such protocols certainly provide
circumstantial evidence that prison health care gatekeepers knew of a substantial risk of serious
harm.

The facts lead to a reasonable inference that there was circumstantial evidence that the
defendants knew that failure to immobilize an Achilles rupture would impede Bowens’ recovery

and prolong his pain. Bowens also alleges a negligence claim against the defendants.

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Exhaustion of Administrative Remedies

Bowens has exhausted his administrative remedies under the Department of Corrections’
grievance procedures outlined in DOC 301.05 with respect to all claims against defendants who
represent nurses, doctors, and HSU staff. See, Complaint #WCI-2013-21379.

Requested Relief

Wherefore, Bowens respectfully requests that this court grant a trial by jury of all issues
triable of right to a jury in this action.

Bowens seeks damages in the amount of $500,000.00 — five hundred thousand dollars —
because of the acts and omissions of the defendants who caused Bowens to suffer unnecessary
pain and emotional distress. Bowens further requests that the monetary damages be
compensatory and punitive.

The notice of claim has been filed in this matter as of March 12, 2014.

I declare under penalty of perjury that the foregoing complaint is true and correct. The plaintiff,
Jamie Bowens, declares that the statements are accurate pursuant to 28 U.S.C. 1746.

Respectfully submitted,

Sone. Bowen. S

Jamie Bowens

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